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ATTORNEYS FOR PAYETTE CITY DEFENDANTS




                       IN THE UNITED STATES DISTRICT COURT

                         IN AND FOR THE DISTRICT OF IDAHO

DAVID M. GRANT,                                 )
                                                )
                Plaintiff,                      )   Case No. 1:18-cv-00411-BLW
                                                )
        vs.                                     )   PAYETTE CITY DEFENDANTS’
                                                )   ANSWER TO PLAINTIFF’S
BENJAMIN KEY, in his official and individual )      COMPLAINT AND DEMAND
capacities, CITY OF FRUITLAND, a political      )   FOR JURY TRIAL
subdivision of the State of Idaho, FRUITLAND )
CITY POLICE DEPARTMENT, a department            )
of the City of Fruitland, J.D. HUFF, in his     )
individual and official capacity, CITY OF       )
PAYETTE, a political subdivision of the State   )
of Idaho, PAYETTE POLICE DEPARTMENT, )
a department of the City of Payette, BEN        )
BRANHAM, in his individual and official         )
capacity, DUANE HIGLEY, in his individual       )
and official capacity, MARK CLARK, in his       )
individual and official capacity, JOHN or JANE )
DOES #1-10, whose true identifies are presently )
unknown, and other Employees of the City of     )
Fruitland, the City of Payette, or Payette      )
County,                                         )
                                                )
                Defendants.                     )
                                                )



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       COME NOW Defendants CITY OF PAYETTE, PAYETTE POLICE DEPARTMENT,

BEN BRANHAM, DUANE HIGLEY and MARK CLARK (collectively “Payette City

Defendants”), by and through their attorney of record, Michael J. Kane of the firm Kane &

Associates, PLLC, and for an Answer to Plaintiff’s Complaint and Demand for Jury Trial (Dkt.

1) (“Complaint”) hereby plead as follows:

                                       FIRST DEFENSE

       1.      Plaintiff’s Complaint and each and every count thereof, fail to state a claim

against these Payette City Defendants upon which relief can be granted.

                                      SECOND DEFENSE

       2.      Payette City Defendants deny each and every allegation in the Plaintiff’s

Complaint not specifically and expressly admitted herein.

       3.      In answer to paragraph 1, of the Plaintiff’s Complaint, this is a declaratory

statement which requires no response, although Payette City Defendants deny they violated any

constitutional rights Plaintiff may possess and further deny any participation in any conspiracy to

deny Plaintiff any constitutional protections that he may have

       4.      Payette City Defendants admit paragraphs 2 and 3 of the Plaintiff’s Complaint.

       5.      In answer to paragraphs 4, 5, 6, 7, 8, 9, 10, 11, 12, and 13 of the Plaintiff’s

Complaint, Payette City Defendants admit the named Defendants hold the identified positions

and that the municipalities are municipal entities within the state of Idaho. Payette City

Defendants deny that the named Defendants acted in a way to be held liable in either their

personal or official capacities.




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       6.      To the extent that Plaintiff fails to identify specific Defendants which Plaintiff

claiming may be liable to him, Payette City Defendants are not able to admit or deny paragraph

14.

       7.      In answer to paragraph 15 of the Plaintiff’s Complaint, Payette City Defendants

lack sufficient knowledge of Plaintiff’s mental health or the reason concerning his travel though

southwestern Idaho and therefore cannot admit or deny the allegations found in the paragraph.

       8.      In answer to paragraph 16 of the Plaintiff’s Complaint, Payette City Defendants

admit that Plaintiff was driving in an erratic manner through the City of Payette which brought

Plaintiff to the attention of Payette City Police Officer Ben Branham (“Officer Branham”).

Payette City Defendants admit that Officer Branham and Payette City Police Officer Duane

Higley (“Officer Higley”) sought to stop Plaintiff without success.

       9.      In answer to paragraph 17 and 18 of the Plaintiff’s Complaint, Payette City

Defendants admit that Plaintiff failed to bring his vehicle to a stop upon being given a visual or

audible signal to bring his vehicle to a stop, thereby violating Idaho Code § 49-1404. Payette

City Defendants further admit that a barrier was erected in the path of Plaintiff’s motor vehicle in

Fruitland in an attempt to involuntarily stop Plaintiff’s motor vehicle, but the Plaintiff went over

the barrier and continued driving.

       10.     In answer to paragraph 19 of the Plaintiff’s Complaint, Payette City Defendants

admit that when Plaintiff failed to stop his motor vehicle in violation of Idaho Code § 49-1404,

and failed to stop after encountering the barrier, Officer Branham and Officer Higley pursued

Plaintiff with siren and lights activated. Payette City Defendants further admit that Fruitland

City Police Officer Benjamin Key (“Officer Key”) assumed point as Plaintiff began to leave the




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city limits of Fruitland.   Payette City Defendants deny that Officer Branham did not comply

with his commanding officer’s directions.

        11.     In answer to paragraph 20 of the Plaintiff’s Complaint, Payette City Defendants

admit the video is an accurate rendition of the events that transpired and further admit that the

video continues to show Plaintiff failing to stop at the direction of uniformed police officers,

displaying audible and visual signals as required by Idaho Code § 49-1404.

        12.     In answer to paragraph 21 of the Plaintiff’s Complaint, Payette City Defendants

lack sufficient knowledge of Plaintiff’s mental process to admit or deny why he started to turn

onto the westbound freeway off ramp when based upon the Plaintiff’s Complaint, he was seeking

to head eastbound on Interstate 84. Payette City Defendants admit that as a result of Plaintiff

attempting to turn onto the wrong ramp, he became a potential hazard for other motorists.

        13.     In answer to paragraphs, 22, 23, 24 and 25 of the Plaintiff’s Complaint, Payette

City Defendants admit that Plaintiff failed to comply with the lawful orders or directions of

uniformed peace officers and continued to elude and evade officers. Plaintiff never stopped his

motor vehicle, despite repeated and emphatic commands to do so. Payette City Defendants

further admit that Officer Branham and Officer Higley remained as support officers while

Officer Key engaged Plaintiff.

        14.     In answer to paragraphs 26 and 27 of the Plaintiff’s Complaint, Payette City

Defendants admit that Plaintiff continued to fail to comply with the lawful orders or directions of

uniformed peace officers and continued to operate his motor vehicle in an effort to elude and

evade uniformed law enforcement in violation of Idaho law. Plaintiff appeared to ignore orders,

disregard commands and continue to operate his motor vehicle in a manner which put the safety

of the officers, as well as the public, in danger.



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       15.     In answer to paragraph 28 of the Plaintiff’s Complaint, Payette City Defendants

admits that Plaintiff was injured.

       16.     In answer to paragraph 29 of the Plaintiff’s Complaint, Payette City Defendants

defer to Fruitland City Defendants as to what is “clearly and strictly prohibited” under municipal

law enforcement established policy.

       17.     In answer to paragraph 30 of the Plaintiff’s Complaint, Payette City Defendants

deny that the force used based upon the totality of the circumstances was unreasonable.

       18.     In answer to paragraphs 31, 32 and 33 of the Plaintiff’s Complaint, Payette City

Defendants admit that Plaintiff has suffered physical injuries and may suffer economic damages,

but deny that these answering Defendants are liable to Plaintiff.

       19.     In answer to paragraph 34 of Plaintiff’s Complaint, Payette City Defendants deny

that any statement given under oath was intentionally false or that a conspiracy exists.

       20.     In answer to paragraph 35 of the Plaintiff’s Complaint, Payette City Defendants

deny that any action nor failure to act on their part caused Plaintiff to suffer loss.

       21.     In answer to paragraph 36 of the Plaintiff’s Complaint, Payette City Defendants

admit that Mark Clark was the Chief of Police for the City of Payette (“Chief Clark”) and is the

policymaker for the police department.

       22.     In answer to paragraph 37 of the Plaintiff’s Complaint, Payette City Defendants

admit that Chief Clark does have significant authority as to the hiring of Payette City Police

Officers, although technically final authority rests in the City Council. The screening and

training of potential Payette City police officers is pursuant to Idaho Police Officer Standards

and Training regulations, as well as Idaho law. Payette City Defendants admit that Chief Clark

is responsible for the supervision of his police officers.



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       23.     Paragraph 38 of the Plaintiff’s Complaint is a declaratory statement which does

not require a response.

       24.     In answer to paragraphs 39, 40, 41, 42, 43, 44 and 45 of the Plaintiff’s Complaint,

Payette City Defendants admit that Plaintiff is entitled to protections contained within the United

States Constitution which includes the Fourth Amendment. Payette City Defendants deny that

any action or inaction by them resulted in a violation of Plaintiff’s protected constitutional rights,

that their actions caused Plaintiff compensable injury or that Plaintiff was required to engage

legal assistance to advance his claim.

       25.     Paragraph 46 of the Plaintiff’s Complaint is a declaratory statement which does

not require a response.

       26.     In answer to paragraphs 47, 48, 49, 50, 51, 52 and 53 of the Plaintiff’s Complaint,

Payette City Defendants admit that Plaintiff is entitled to protections contained within the United

States Constitution. Payette City Defendants deny that any action or inaction by them was done

with deliberate or callous indifference to the truth, that resulted in a violation of Plaintiff’s

protected constitutional rights, that their actions caused Plaintiff compensable injury or that

Plaintiff was required to engage legal assistance to advance his claim.

       27.     Paragraph 54 of the Plaintiff’s Complaint is a declaratory statement which does

not require a response.

       28.     In answer to paragraphs 55, 56, 57, 58, 59, 60 and 61 of the Plaintiff’s Complaint,

Payette City Defendants deny that any action or inaction by them that was done in terms of

hiring, training or supervision, or implementation of policy, caused Plaintiff compensable injury

or that Plaintiff was required to engage legal assistance to advance his claim.

                               FIRST AFFIRMATIVE DEFENSE

       29.     These Payette City Defendants are immune from liability.

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                              SECOND AFFIRMATIVE DEFENSE

       30.     Defendant City of Payette is not liable for any injury, if any there was, caused by

any individual under a theory of respondeat superior.

                               THIRD AFFIRMATIVE DEFENSE

       31.     At no time did there exist between Payette City Defendants, either individually or

in concert or with any other person, an agreement, mutual understanding, or meeting of the

minds to deprive Plaintiff of his civil rights or otherwise commit a tort against Plaintiff.

                             FOURTH AFFIRMATIVE DEFENSE

       32.     The actions of Payette City Defendants do not rise to the level of deprivation of a

constitutionally protected right.

                               FIFTH AFFIRMATIVE DEFENSE

       33.     The damages and injuries sustained by Plaintiff, if any there were, were directly

and proximately caused by the acts and/or omissions of the Plaintiff.

                               SIXTH AFFIRMATIVE DEFENSE

       34.     To the extent that any Payette City Defendant may be separately considered a

policymaker for official capacity purposes, that Defendant is not liable since no governmental

policy, custom or practice led to the deprivation of a constitutional right.

                             SEVENTH AFFIRMATIVE DEFENSE

       35.     To the extent that punitive damages are claimed, punitive damages are not

available against a public official acting in an official capacity.

                              EIGHTH AFFIRMATIVE DEFENSE

       36.     To the extent that punitive damages are claimed, punitive damages are not

available against a public official in his individual capacity because the public official did not



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engage in conduct exhibiting an actual malicious intent or with recklessness, serious indifference

to, or disregard for the rights of others. Further, no Defendant acted oppressively as defined in

federal law.

                               NINTH AFFIRMATIVE DEFENSE

         37.    No action or omission by any policymaker based upon the information known to

him or her constituted improper ratification that resulted in the deprivation of a constitutional

right.

                              TENTH AFFIRMATIVE DEFENSE

         38.    No supervisor, policymaker or governmental entity was deliberately indifferent to

the rights of persons regarding the hiring or training of employees that resulted in the deprivation

of a constitutional right.

                             ELEVENTH AFFIRMATIVE DEFENSE

         39.    No supervisor, policymaker or governmental entity was deliberately indifferent to

the rights of persons regarding the supervision, direction or control or discipline of employees

that resulted in the deprivation of a constitutional right.

                             TWELFTH AFFIRMATIVE DEFENSE

         40.    Discovery is continuing and additional affirmative defenses may be discovered.

Payette City Defendants seek leave to amend and add additional affirmative defenses as they

become learned. This will aid the court and the parties in structuring this lawsuit based upon

factual information.

         PAYETTE CITY DEFENDANTS DEMAND A JURY TRIAL.




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       WHEREFORE,          Defendants,     CITY      OF     PAYETTE,       PAYETTE        POLICE

DEPARTMENT, BEN BRANHAM, DUANE, HIGLEY, and MARK CLARK, having fully

answered Plaintiff’s Complaint, pray as follows:

       1.      Plaintiff’s Complaint be dismissed with prejudice as to these answering

Defendants;

       2.      These answering Defendants be awarded their costs of suit and attorney’s fees

herein incurred; and,

       3.      For such other relief as the Court deems just and equitable in the premises.

       DATED this 24th day of October, 2018.

                                               MICHAEL KANE & ASSOCIATES, PLLC

                                         BY:       /s/ Michael J. Kane                    .
                                               Attorneys for Payette City Defendants




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 24th day of October, 2018, I electronically filed the
foregoing document with the U.S. District Court. Notice will automatically be electronically
mailed to the following individuals who are registered with the U.S. District Court’s CM/ECF
System for this action:
            Jason R. N. Monteleone
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                                                     /s/ Michael J. Kane                  .




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